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 4   Telephone: (916) 554-2744
 5                                                OK/HAV
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       Case. No. CR-S-04-305 DFL
                                       )
12                    Plaintiff,       )
                                       )       STIPULATION AND ORDER
13                                     )
          v.                           )
14                                     )       Date: February 8, 2007
     ROBERT FLORES,                    )       Time: 10:00 a.m.
15                                     )       Ctrm: Hon. David F. Levi
                      Defendant.       )
16                                     )
                                       )
17
18
19        It is hereby requested and stipulated by and between the United
20   States of America through Philip Ferrari, Assistant United States
21   Attorney, and the defendant Robert Flores, by and through his
22   Counsel Michael Bigelow, that the hearing on judgment and sentence
23   originally scheduled for November 2, 2006, be vacated and reset for
24   February 8, 2007 at 10:00 a.m., that the following dates be set
25   concerning the presentence report::
26        Draft Report To Parties: 12/28/06
27
          Objections Due: 1/11/07
28
          Final PSR: 1/18/07

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 1
          Motions to Correct Report Due: 1/25/07
 2
          Any Replies To Motions: 2/1/07
 3
 4
     DATED: October 10, 2006                   /s/ Philip Ferrari for
 5                                             MICHAEL BIGELOW, ESQ.
                                               Attorney for Defendant
 6                                             ROBERT FLORES
 7
 8   DATED: October 10, 2006                   McGREGOR W. SCOTT
                                               United States Attorney
 9
10                                      By:      /s/ Philip A. Ferrari
                                               PHILIP A. FERRARI
11                                             Assistant U.S. Attorney
12
13
14        IT IS SO ORDERED.
15
16
     DATED: 10/10/2006
17
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19
                                               DAVID F. LEVI
20                                             United States District Judge
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